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BEFORE HONORABLE ERIC N. VITALIANO
UNITED STATES DISTRICT JUDGE


                                         DATE: 6/24/2021


                           CRIMINAL CAUSE FOR GUILTY PLEA (IN-PERSON)

DOCKET # 19cr493 (ENV)



Defendant                                           COUNSEL

Yarin Nadel                                         Meir Moza


AUSA: Benjamin Weintraub

Interpreter: n/a

COURT REPORTER: Georgette Betts

Pretrial Officer: n/a

Courtroom Deputy: William Villanueva

X        DEFT SWORN

X        CASE CALLED FOR PLEADING

X        DEFENDANT WAIVES INDICTMENT.

X        DEFENDANT ENTERS A PLEA OF GUILTY TO COUNT 6 OF THE INDICTMENT

X        COURT FINDS THAT THE PLEA WAS MADE KNOWINGLY & VOLUNTARILY AND
         NOT COERCED. COURT FINDS FACTUAL BASIS FOR THE PLEA & ACCEPTS PLEA OF GUILTY
         TO COUNT 6 OF THE INDICTMENT.


Time in Court: 60 MINUTES
